     Case 2:17-cv-03842-PSG-PJW Document 10 Filed 07/19/17 Page 1 of 2 Page ID #:40



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9                                UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
10
      TERRY FABRICANT, individually and on              ) Case No. 2:17-cv-03842
11
      behalf of all others similarly situated,          )
12                                                      ) NOTICE OF SETTLEMENT
      Plaintiff,                                        )
13                                                      )
14
              vs.                                       )
                                                        )
15    HARBORTOUCH PAYMENTS, LLC; and                    )
      DOES 1 through 10, inclusive,                     )
16                                                      )
17    Defendant.                                        )
                                                        )
18
              NOW COMES THE PLAINTIFF by and through his attorney to respectfully notify this
19
      Honorable Court that this case has settled. Plaintiff request that this Honorable Court vacate all
20
      pending hearing dates and allow sixty (60) days with which to file dispositive documentation.
21

22
      Dispositional documents will be forthcoming. This Court shall retain jurisdiction over this

23    matter until fully resolved.

24

25
      Dated: July 19, 2017           Law Offices of Todd M. Friedman, P.C.
26

27                                                   By: /s/ Todd M. Friedman____
                                                             Todd M. Friedman, Esq.
28
                                                             Attorneys for Plaintiff



                                             Notice of Settlement - 1
     Case 2:17-cv-03842-PSG-PJW Document 10 Filed 07/19/17 Page 2 of 2 Page ID #:41



1     Filed electronically on this 19th Day of July, 2017, with:
2

3     United States District Court CM/ECF system

4     Notification sent electronically via the Court’s ECF system to:
5
      Honorable Judge Philip S. Gutierrez
6     Honorable Magistrate Judge Patrick J. Walsh
      United States District Court
7     Central District California
8
      And all Counsel of Record as recorded on the Electronic Service List.
9

10    This 19th Day of July, 2017

11
      s/Todd M. Friedman
12      Todd M. Friedman, Esq.

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                                             Notice of Settlement - 2
